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                                United States District C ou rt
                                  District of C on necticut


                            ELECTRONIC FILING ORDER

       The Court orders that the parties in this case shall file electronically all

documents.

       The following requirements are imposed:

       1.        Counsel must comply with all applicable Federal Rules of Criminal

                 Procedure, the District's Local Rules and the requirements set forth in the

                 District's CM/ECF Policies and Procedures Manual, and any other rules

                 and administrative

                 procedures that implement the District's CM/ECF system.

       2.        Documents filed electronically must be filed in OCR text searchable PDF

                 format.

       3.        Unless otherwise ordered, on the business day next following the day on

                 which a document is filed electronically, counsel must provide Chambers

                 with one paper copy of the following e-filed documents:

Criminal Cases: All pleadings (including briefs and exhibits) supporting or opposing

the following:

       a.        Motions to dismiss the indictment;
       b.        Motions to suppress;
       c.        Motions to modify presentence reports;
       d.        Requested jury instructions;
       e.        Trial briefs; and
       f.        Any other filing requested by the court.


                                                   /s/ Victor A. Bolden
                                                   Victor A. Bolden
                                                   United States District Judge
